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  EXHIBIT X
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              From: Christina L Cruzen <ccruzen@uw.edu>
              Sent: Tuesday, January 7, 2025 3:23:49 PM (UTC-08:00) Pacific Time (US & Canada)
              To: OAW Director <oawdirector@uw.edu>
              Cc: Jane Sullivan <jmsull@uw.edu>
              Subject: Minority Report

              I would like to submit a minority report about a matter that occurred during the October IACUC
              meeting.

              On October 17, 2024, the Director of OAW read a letter from a PI that had previously received a
              letter of counsel for failing to obtain IACUC approval for receipt of non-naïve nonhuman primates
              from another institution. In the response letter submitted to the IACUC, the PI stated that these
              animals were not intended for her protocol and asked the committee to reverse the previously-sent
              letter of counsel. I did not vote in favor this request and remain convinced that these four animals
              were in fact shipped to the Washington National Primate Research Center with the sole intention of
              continued utilization on this PI’s protocol. I have come to this conclusion based on discussions with
              the PI in which she explained the critical nature of the study she intended to perform in
              collaboration with the shipping institution and the incredible value this collaborative work would
              bring to the primate center. Interviews were also conducted with multiple other members of staff
              within the primate center, including the shipping coordinator and the veterinarian reviewing animal
              health records. The veterinarian described multiple meetings between herself and the WaNPRC lab
              members and shared email communication between herself, the WaNPRC PI, and the shipping
              institution all of which demonstrated an agreement between all parties about the intended use of
              these animals. The shipment was requested and partially arranged by the PI’s former lab manager.
              The PI obtained tissues from the first animal that was euthanized and shared those tissues with a PI
              at the shipping institution. Although the future assignment was not explicitly stated in any written
              communication reviewed, all involved parties stated without doubt that all decisions made regarding
              this shipment were based on the intention of these animals being assigned to this PI’s protocol.

              I feel the UW IACUC has consistently held investigators accountable for adhering to their IACUC-
              approved protocol and for following established policies and procedures. The reversal of the
              committee’s decision to do the same for this PI is disappointing. I am further disappointed in the
              committee’s lack of acknowledgement of the welfare impact this had on the animals. Shipment is
              undeniably a stressful event for any animal. If the committee did in fact consider it reasonably
              possible that these animals were not brought here for a defined research purpose, the impact of this
              very long shipment on these geriatric animals should have raised additional concerns given this
              apparent lack of specific scientific justification. Although I am reassured by the primate center’s
              institutional response to modify the shipping process and prevent similar issues in the future, this
              PI’s refusal to accept responsibility for her decision is concerning and the committee’s support of
              that refusal is disappointing.
